                   UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


 GARY F. McCRAE                                )
                                               )
 v.                                            )            NO. 2:05-CV-335
                                               )            NO. 2:03-CR-74
 UNITED STATES OF AMERICA                      )            Judge Greer
                                               )


                            MEMORANDUM OPINION

         Gary F. McCrae (“petitioner” or “McCrae”), a federal prisoner, has filed a

 “Motion Under 28 USC § 2255 to Vacate, Set Aside or Correct Sentence By A Person

 In Federal Custody.” [Doc. 1, 432]. The United States has responded in opposition

 [Doc. 6, 433] and the matter is now ripe for disposition. The Court has determined that

 the answer, transcripts and the record of prior proceedings in the case conclusively

 establish that petitioner is not entitled to relief under § 2255 and, therefore, no

 evidentiary hearing is necessary. Rule 8(a) of the Rules Governing Section 2255

 Proceedings in the United States District Courts. For the reasons which follow, the

 petitioner’s § 2255 motion lacks merit, and the motion will be denied.

I.       Procedural and Factual Background

         McCrae, along with more than a dozen other defendants, was indicted by the

federal grand jury on September 23, 2003, on a host of drug offenses. McCrae entered




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a plea of guilty on May 24, 2004, to Count 1 of the 204 count indictment, which

charged him with engaging in a continuing criminal enterprise involving the distribution

of crack cocaine in violation of 21 U.S.C. § 848. A Presentence Report (“PSR”) was

ordered and provided to the parties. The probation officer found, pursuant to USSG

§ 2.D1.5(a), that petitioner’s offense adjusted offense level was 42, less a three level

reduction for acceptance of responsibility, resulting in a total offense level of 39.

Based upon a total offense level of 39 and a criminal history category of V, petitioner’s

guideline range was 360 months to life imprisonment. Petitioner was subject to a

statutory mandatory minimum sentence of twenty years.

      As part of his negotiated plea agreement, petitioner stipulated that from

approximately January, 2000, to on or about September 23, 2003, defendant engaged

in a continuing criminal enterprise in which he was responsible for the distribution of

at least 292 ounces of crack cocaine in the Eastern District of Tennessee. He further

agreed that in furtherance of this continuing criminal enterprise he engaged in a

continuing series of drug distribution activities resulting in significant monetary gain

and that he occupied a position of leadership and organizer for at least five individuals

who assisted him in criminal activity. In addition, the agreed factual basis provided as

follows:

                    1.     During the period charged , defendant McCrae
             distributed significant quantities of crack cocaine to various

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        individuals in the Eastern District of Tennessee. Defendant
        McCrae organized a network of eight individuals to
        distribute crack cocaine for him.

               2.     During the period charged, defendant McCrae
        transported as much as 36 - 50 ounces of crack cocaine per
        week from North Carolina into the Eastern District of
        Tennessee. Defendant McCrae directed individuals to travel
        from the Eastern District of Tennessee to North Carolina to
        pick up multiple ounces of crack cocaine that they then
        transported back to Tennessee for further distribution. Two
        of these individuals have admitted to traveling to North
        Carolina to pick up supplies of crack cocaine two times per
        week for a three-month period where they picked up from
        nine to twenty-two ounces of crack cocaine per trip. Other
        individuals, acting at defendant McCrae’s direction, assisted
        in breaking down and packaging the crack cocaine into
        distribution quantities.

               3.     Defendant McCrae directed at least three
        individuals to wire transfer drug proceeds to North Carolina
        to pay for crack cocaine. During the period charged, law
        enforcement agents documented 165 Western Union wire
        transfers totaling more than $100,000.00 that were sent to
        crack cocaine suppliers to pay for crack cocaine purchases or
        to pay for crack cocaine previously obtained. Additionally,
        defendant McCrae and others who were acting at his
        direction carried cash from the Eastern District of Tennessee
        to North Carolina to pay for crack cocaine. On occasion,
        defendant McCrae carried cash to the supplier in North
        Carolina.

               4.     Defendant McCrae utilized the residence of his
        assistants to process powder cocaine into crack cocaine. On
        one occasion defendant McCrae used an assistant’s residence
        to cook a half-kilogram of cocaine into crack cocaine,
        resulting in multiple ounces as a final product.


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         No objections to the PSR were filed by either the petitioner or the United States.

On December 3, 2004, the United States filed a motion pursuant to USSG § 5K1.1 for

a downward departure based upon petitioner’s substantial assistance. The motion was

granted and McCrae was sentenced, on December 13, 2004, to a sentence of 288

months of imprisonment. Judgment was entered on January 7, 2005, and no direct

appeal was filed. On December 19, 2005, petitioner timely filed the instant § 2255

motion.

II.      Standard of Review

         This Court must vacate and set aside petitioner’s conviction upon a finding that

“the judgment was rendered without jurisdiction, or that the sentence imposed was not

authorized by law or otherwise open to collateral attack, or that there has been such

a denial or infringement of the constitutional rights of the prisoner as to render the

judgment vulnerable to collateral attack, . . .” 28 U.S.C. § 2255(b). Under Rule 8(a)

of the Rules Governing Section 2255 Proceedings In The United States District Courts,

the Court is to review the answer, any transcripts, and records of prior proceedings and

any material submitted under Rule 7 to determine whether an evidentiary hearing is

warranted.

         When a defendant files a § 2255 motion, he must set forth facts which entitle him

to relief. Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States,


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285 F.2d 733, 735 (6th Cir. 1961). “Conclusions, not substantiated by allegations of fact

with some probability of verity, are not sufficient to warrant a hearing.” Green, 454

F.2d at 53; O’Malley, 285 F.2d at 735 (citations omitted). A motion that merely states

general conclusions of law without substantiating allegations with facts is without legal

merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

       To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error

must be one of constitutional magnitude which had a substantial and injurious effect or

influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)

(citation omitted) (§ 2254 case); Clemmons v. Sowders, 34 F. 3d 352, 354 (6th

Cir. 1994); see also United States v. Cappas, 29 F.3d 1187, 1193 (7th Cir. 1994)

(applying Brecht to a § 2255 motion). To warrant relief for a nonconstitutional error

requires a showing of a fundamental defect in the proceedings that resulted in a

complete miscarriage of justice or an egregious error inconsistent with the rudimentary

demands of fair procedure. Reed v. Farley, 512 U.S. 339 (1994); Grant v. United

States, 72 F. 3d 503, 506 (6th Cir. 1996), cert. denied, 517 U.S. 1200 (1996).

III.   Analysis and Discussion

       In his § 2255 motion, McCrae asserts three grounds. He claims: (1) actual and

factual innocence of a violation of 21 U.S.C. § 848, (2) ineffective assistance of counsel


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during plea negotiations because his attorney “should have tried to get a plea for the

lesser included offense i.e., 21 U.S.C. § 846, and (3) that his plea was “not entered

knowingly, willingly, and intelligently entered concerning the elements necessary for

the charge.” The Court will address each of these grounds separately.

      1.     Actual Innocence / Necessary Elements

      As his first ground, petitioner alleges: “Actual and Factual Innocence of a

violation of Title 21 U.S.C. § 848.” As supporting facts, he states: “At the time of the

petitioner’s plea, the Court, Prosecutor, Defense Attorney, and the Defendant did not

fully understand the necessary elements which were necessary to sustain a conviction

under 21 U.S.C. § 848.”

      This claim lacks merit for numerous reasons. As an initial matter, the United

States correctly notes that the petitioner has waived this argument in two ways. First,

an unconditional plea of guilty waives all non-jurisdictional defects and operates as an

admission of actual and factual guilt. See United States v. Broce, 488 U.S. 563, 574-75

(1989); Tollett v. Henderson, 411 U.S. 258, 266-67 (1973). Second, petitioner

expressly waived the right to collaterally attack his conviction in the plea agreement.

      The plea agreement entered into by the petitioner in this case provides, in part,

as follows: “In return for the concessions made by the government in this agreement the

defendant is pleading guilty voluntarily and with an understanding of the consequences


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of his plea of guilty, including sentencing. Therefore, the defendant knowingly and

voluntarily agrees to waive any rights he may have to file any post conviction motions

or pleadings pursuant to Title 28 United States Code, Section 2255.1 Specifically, the

defendant knowingly, intentionally, and voluntarily waives his right to collaterally

attack the plea(s) being offered in the instant case.” Plea Agreement, ¶ 14.

       During the Rule 11 colloquy in this case, McCrae was specifically advised of the

waiver provisions in his plea agreement, he acknowledged under oath that he

understood the waiver and he acknowledged that he had discussed the waiver with his

attorney. The Sixth Circuit has held such a waiver provision to be binding and

enforceable and a basis for dismissing petitioner’s collateral attack. Davila v. United

States, 258 F.3d 448, 450-51 (6th Cir. 2001) (defendants may “waive any right, even a

constitutional right,” by means of a plea agreement, quoting United States v. Flemming,

239 F.3d 761, 763 (6th Cir. 2001)).

       Petitioner’s claim is also subject to dismissal because he fails to set forth any

facts in his petition which would entitle him to relief. He pleads no facts which would

establish, or even suggest, his actual innocence of a violation of 21 U.S.C. § 848 nor

does he elaborate on his claim that neither he, his attorney, the prosecutor nor the Court

fully understood the necessary elements to sustain a conviction under 21 U.S.C. § 848.

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          The plea agreement did permit petitioner to raise claims of ineffective assistance of counsel not
known to him at the time of entry of his guilty plea.

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In fact, his claim that he did not fully understand the necessary elements to sustain a

conviction under 21 U.S.C. § 848 is contradicted by the record.

      Petitioner’s plea agreement correctly sets out the elements of a violation of 21

U.S.C. § 848 and defendant “acknowledges that in order to be convicted of Count I, a

violation of Title 21, United States Code, Section 848, the United States must prove

beyond a reasonable doubt that the defendant knowingly and intentionally (1)

committed a felony violation of Title 21, United States Code, (2) that such violation

was part of a continuing series of violations of Title 21, United States Code, (3) that the

violations were undertaken in concert with five or more persons with respect to whom

the defendant occupied a position of organizer, supervisor, or manager, and (4) from

which the defendant obtained substantial income or resources on or about the dates

charged within the Eastern District of Tennessee.” Plea Agreement, ¶ 11. See United

States v. Burns, 298 F.3d 523, 535 (6th Cir. 2002), cert. denied, 538 U.S. 953 (2003).

Furthermore, the plea agreement acknowledged that the petitioner had read the

indictment and that his attorney had fully explained the nature of the charges, as well

as any defenses that he might have.

      During the Rule 11 colloquy on May 24, 2004, McCrae acknowledged, under

oath, that he had read and signed the plea agreement, that his attorney had explained the

terms and conditions of the plea agreement and that he “fully underst[ood] all the terms


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and conditions” of his plea agreement. He acknowledged that he had been advised by

his attorney as to the nature and meaning of the charges against him, that he had read

the indictment, and that he had been advised by his attorney “as to each and every

element of the offense which the government must prove beyond a reasonable doubt in

order to obtain a conviction.” He further acknowledged that he understood what the

government must prove in order to establish those elements. Likewise, petitioner’s

counsel acknowledged that he was satisfied that McCrae understood the elements of the

offense charged.

      Attached to the petitioner’s plea agreement was an “Agreed Factual Basis” which

contained a stipulation of facts which established each element of the offense. McCrae

acknowledged, once again under oath, that he had read the agreed factual basis, agreed

with it, that everything in the agreed factual basis was true and that he had signed it.

      Lastly, petitioner has procedurally defaulted this claim.          A petitioner is

procedurally barred from raising claims in a § 2255 motion, even those of constitutional

magnitude, to which no contemporaneous objection was made or which were not

presented on direct appeal. United States v. Frady, 456 U.S. 152, 167-68 (1982); Nagi

v. United States, 90 F.3d 130, 134 (6th Cir. 1996). Where petitioner has procedurally

defaulted a claim by failing to raise it on direct review, the claim may be raised in a

motion under § 2255 only if the defendant first demonstrates either cause for the default


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and actual prejudice or that he is actually innocent. Bousley v. United States, 523 U.S.

614, 622 (1998). Petitioner makes no attempt to show either cause for the default or

actual prejudice, but rather appears to argue his actual innocence. However, as set forth

above, his conclusory allegations, without supporting facts, are insufficient to establish

his actual innocence of the offense of conviction.

      2. Guilty Plea Entered Knowingly, Willingly And Intelligently

      As set forth above, McCrae also claims “actual and factual innocence due to my

plea to the CCE count was not entered knowingly, willingly, and intelligently entered

concerning the elements necessary for the charge.” As supporting facts for this ground,

he alleges “petitioner did not know that he had a right to due process to have the

government to prove the three-continuing series of violations that constituted the CCE

Statute.”

      Petitioner’s claim is difficult to understand. To the extent that he claims his plea

was not knowing or voluntary in that he did not know that a conviction under 21 U.S.C.

§ 848 required proof of a continuing series of drug offenses, his contention is, as set

forth above, contradicted by the record. McCrae admitted, under oath, to committing

dozens of violations of Title 21, United States Code. For instance, McCrae admitted

that during the period charged, i.e. January 2000 – September 23, 2003, he transported

36 to 50 ounces of crack cocaine per week from North Carolina to the Eastern District


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of Tennessee. Each of these weekly events was part of a continuing series of violations

of Title 21, United States Code.

      Likewise, a review of the transcript of the Rule 11 colloquy establishes that this

Court followed all of the requirements of Fed. R. Crim. P. 11 and the Court’s finding

that the defendant had offered to plead guilty knowingly and voluntarily is clearly

supported by the record.        McCrae’s rights were fully explained to him, he

acknowledged that he understood his rights and the nature of the charges against him,

that he understood the nature of the charge he was pleading guilty to and that he was

offering to plead guilty because he was in fact guilty of engaging in a continuing

criminal enterprise. The plea colloquy clearly establishes McCrae’s competence to

plead guilty and that he was not under the influence of narcotics, other drugs or alcohol.

McCrae acknowledged that he understood that he was “giving up the right to require

the United States to prove [him] guilty beyond a reasonable doubt at a trial, that he had

not been pressured by any person to force him to plead guilty in the case and that no

promises, other than those contained in the plea agreement, had been made to him by

any officer or agent of the government. The record in this case clearly establishes that

petitioner’s plea of guilty was entered knowingly and voluntarily and that he

specifically acknowledged that he understood that he was giving up the right to require

the United States to prove him guilty.


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      Additionally, as set forth above, petitioner is required to plead sufficient facts to

show his entitlement to relief. He has not done so with respect to this claim. He pleads

no facts which would establish that his guilty plea was involuntarily entered or that he

did not, in fact, understand the elements of the offense. Even if he could establish some

misunderstanding of the elements of the offense, petitioner could establish no prejudice

because he admitted facts more than sufficient to establish all of the required elements

of the offense. He has also waived the claim and has also procedurally defaulted the

claim that his plea was not knowingly and voluntarily entered by failing to raise it on

direct appeal. As with the issue discussed above, he makes no effort to show either

cause or prejudice for the default and his conclusory claim of actual innocence is

insufficient.

      3.        Ineffective Assistance of Counsel

      Lastly, McCrae claims that he received ineffective assistance of counsel during

his plea negotiations because his attorney should have tried to get a plea for a lesser

offense, i.e., a violation of 21 U.S.C. § 846. As supporting facts, he states: “My

attorney had me to enter into a plea agreement which the term of imprisonment for the

§ 848 began with a mandatory minimum of 20 years verses the § 846 charge which

carried only a mandatory minimum of either 5 or 10 years.”

      In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court established


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the criteria for determining whether a Sixth Amendment claim of ineffective assistance

of counsel is meritorious. The Strickland test requires that a defendant demonstrate two

essential elements; (1) counsel’s performance was deficient, i.e., counsel was not

functioning as counsel guaranteed the defendant by the Sixth Amendment, and (2)

counsel’s deficient performance prejudiced the defendant, i.e., deprived the defendant

of a fair trial rendering the outcome of the trial unreliable. Id. at 687-88.

      There is a strong presumption that counsel’s conduct was within the wide range

of reasonable professional assistance and that conduct cannot be viewed in hindsight,

but must be evaluated for reasonableness within the context of the circumstances at the

time of the alleged errors. Id. at 689-90. A defendant’s challenge to such decisions

must overcome a presumption that the challenged actions might be considered sound

trial strategy. McQueen v. Scroggy, 99 F.3d 1302, 1311(6th Cir. 1996); O’Hara v.

Wigginton, 24 F.3d 823, 828 (6th Cir. 1994).

      When a defendant challenges his guilty plea, to establish the prejudice prong, he

must demonstrate that without counsel’s alleged errors, he would not have pled guilty,

but would have insisted on standing trial. Hill v. Lockhart, 474 U.S. 52, 56,59 (1985).

To demonstrate a reasonable probability that he would have gone to trial, a defendant

is required to present evidence apart from a bare assertion that but for counsel’s error

he would have pleaded not guilty and gone to trial. See Parry v. Rosemeyer, 64 F.3d


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110, 118 (3rd Cir. 1995). “[R]eviewing court[s] must remember that ‘counsel is

strongly presumed to have rendered adequate assistance and made all significant

decisions in the exercise of reasonable professional judgment.’ ” Wong v. Money, 142

F.3d 313, 319 (6th Cir. 1998), quoting Strickland, 466 U.S. at 690. “An error of

counsel, even if professionally unreasonable, does not warrant setting aside the

judgment of a criminal proceeding if the error had no effect on the [ultimate]

judgment.” Id. at 691.

      McCrae has presented no evidence that his counsel’s performance with respect

to negotiating a plea bargain was deficient in any way. Nor has he established that any

constitutional right was at stake. See United States v. Gonzalez-Vazquez, 219 F.3d 37,

43 (1st Cir. 2000) (“‘there is no constitutional right to plea bargain’”) (quoting

Weatherford v. Bursey, 429 U.S. 545, 561 (1997)). “The successful negotiation of a

plea agreement involves factors beyond the control of counsel . . . including the

cooperation of the prosecutor, who has no obligation to offer such an agreement.”

United States v. Hall, 212 F.2d 1016, 1022 (7th Cir. 2000). The Sixth Circuit has held

that “[t]he alleged denial of an opportunity to plea bargain does not permit collateral

relief under § 2255.” Anderson v. United States, 2000 WL 1256902 *2 (6th Cir., July

11, 2000) (unpublished decision) (citing Weatherford v. Bursey).

      McCrae has not alleged that he instructed his counsel to explore a plea to a § 841


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offense, nor is there any evidence that the government would have offered such a plea.

In fact, the government’s response states unequivocally that the United States would not

have accepted such a plea agreement. Likewise, McCrae has not alleged, even in a

conclusory fashion, that but for the alleged ineffective assistance of counsel, he would

not have pled guilty but would have chosen to go to trial. Given that McCrae has no

constitutional right to a plea bargain, nor can he demonstrate any prejudice, his claim

of ineffective assistance of counsel for failure to negotiate a plea agreement lacks merit.

      IV.    Conclusion

      For the reasons set forth above, the Court holds petitioner’s conviction and

sentencing were not in violation of the Constitution or laws of the United States.

Accordingly, his motion to vacate, set aside or correct his sentence pursuant to 28

U.S.C. § 2255 will be DENIED and his petition DISMISSED.

      Under 28 U.S.C. § 2253(c)(2), the Court must decide whether a certificate of

appealability should be granted.        A certificate should issue if petitioner has

demonstrated a “substantial showing of a denial of a constitutional right.” 28 U.S.C.

§ 2253(c)(2).    The Sixth Circuit Court of Appeals disapproves of the issuance of

blanket denials of a certificates of appealability. Murphy v. Ohio, 263 F. 3d 466 (6th

Cir. 2001). The District Court must “engage in a reasoned assessment of each claim”

to determine whether a certificate is warranted. Id. at 467.        Each issue must be


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considered under the standard set forth by the Supreme Court in Slack v. McDaniel, 529

U.S. 473, (2000). Id.

       Under Slack, to warrant a grant of the certificate, “[t]he petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Having examined each of the petitioner’s

claims under the Slack standard, the Court finds that reasonable jurists could not find

that this Court’s dismissal of petitioner’s claims was debatable or wrong. Therefore,

the Court will deny petitioner a certificate of appealability as to each issue raised by

him.

             A separate order will enter.

             ENTER:


                                                    s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




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